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 8                                UNITED STATES DISTRICT COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10

11 UNITED STATES OF AMERICA                          Case No.: 4:21-cr-00429-YGR

12                  Plaintiff,                       ORDER RE DEFENDANT’S MOTION
                                                     FOR A NEW TRIAL
13         v.

14 RAY GARCIA

15                  Defendant.

16

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18         This matter is before the Court on the application of the Defendant for the production of
19 records and the issuance of a subpoena, pursuant to Federal Rule of Criminal Procedure 33 and

20 Local Rule 47-2.

21         Based on the arguments and evidence set forth, the Court finds the interests of justice
22 require that a new trial be ordered.

23         IT IS SO ORDERED.
24

25         Dated:
                                                        Hon. Yvonne Gonzalez Rodriguez
26                                                      United States District Judge

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     ORDER RE DEFENDANT’S MOTION FOR A NEW TRIAL
